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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AFSCME LOCAL 590 HEALTH AND    :                             CIVIL ACTION
WELFARE FUND by and through its:
Board of Trustees, YVONNE HARRIS,
                               :
Trustee, JALIL M. SHAFI, Trustee,
                               :
LLOYD FRANK, Trustee and       :
ANGELA CABRERA, Trustee        :
                               :
     v.                        :
                               :
O’NEILL CONSULTING CORPORATION :                             NO. 21-2116


                                                ORDER

        NOW, this 6th day of October, 2021, upon consideration of the Plaintiff’s Motion to

Dismiss Defendant’s Counterclaim (Doc. No. 19) and the defendant having failed to file a

response to the motion, it is ORDERED that the motion is GRANTED.1

        IT IS FURTHER ORDERED that the defendant O’Neill Consulting Corporation’s

counterclaim is DISMISSED.




                                        /s/ TIMOTHY J. SAVAGE J.




1Because the defendant has failed to file a response within fourteen days of the filing of the plaintiff’s
motion, the motion is granted as uncontested pursuant to Local Rule of Civil Procedure 7.1(c).
